WESTERN DISTRICT OF MISSOURI
WESTERN DIVISION

MARVIN FIELDER, et al.,
individually and on behalf of
a class of similarly situated
individuals,

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AES MISSOURI

Plaintiffs, Case No. 96-1210-CV-W-3

VS.

CREDIT ACCEPTANCE CORPORATION,
et al.,

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Defendants.

PLAINTIFFS' CORRECTED SUGGESTIONS IN OPPOSITION TO "CAC'S
MOTION TO DISMISS FOR LACK OF SUBJECT-MATTER JURISDICTION
AND TO DISMISS OR STAY BY REASON OF PENDING STATE COURT
LITIGATION", AND IN OPPOSITION TO "CAC'S MOTION FOR PARTIAL
SUMMARY JUDGMENT"

Having thrown Brer Rabbit into the briar patch some fifteen months ago,1
Brer Fox now pauses to reconsider. While CAC may well now regret having
shifted the battle to this Court, its belated subject matter jurisdiction attack is
unfounded, as is its plea for a stay. After losing the class certification battle and
hiring an additional law firm, CAC now asserts state court would be a better place
to litigate this matter. However, none of the reasons proffered by CAC for reversal
of this Court’s removal order justify returning this class action to state court.
Certainly nothing CAC says can possibly justify breaking this class action up into
thousands of individual cases. CAC's res judicata summary judgment
arguments are closely connected to the arguments in its motion to dismiss, and

similarly without merit.

1 CAC removed this matter from the Circuit Court of Jackson County,
Missouri, to this Court on November 25, 1996.
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Rather than submitting largely duplicate pleadings, or relying on cross-
referencing between separate pleadings, the plaintiffs supposed that it would be
better for the Court and all parties if they submit their suggestions on both CAC's
motion to dismiss and on its motion for partial summary judgment in one
pleading (with argument totaling under 15 pages per motion, per local rule).

The plaintiffs proceed assuming fairly detailed familiarity with the claims
asserted in this case, and would refer the Court to their suggestions in support of
their pending motions for summary judgment for additional explanation of the
case. The plaintiffs also proceed understanding that for purposes of the motion to
dismiss the allegations of their Third Amended Complaint are taken as true, and
that for purposes of the summary judgment motion the uncontroverted

allegations of the Third Amended Complaint are taken as true.

I. Response to CAC’s Statement of Facts

1, "CAC has obtained 4,360 money judgments in the Missouri state courts for
deficiencies on retail installment contracts including 2690 judgments after
repossession, which numbers include many members of both plaintiff classes."

RESPONSE: Controverted, except that the plaintiffs do not dispute the very
approximate magnitude of the numbers. The plaintiffs controvert this allegation
only based on an objection: that they have not been given this information by CAC
despite its clear obligation to do so under Rule 26, and thus are unfairly prevented
from verifying the accuracy of the numbers. The plaintiffs have no way of
knowing, for example, if CAC's numbers include all later-filed suits and
judgments or only suits filed and judgments taken up to October 15, 1996; they do
not have the names of the class members included in these numbers (CAC has
provided to date only information on the original representative sampling used for

class certification purposes, amounting to one in 20 of the persons sued by CAC

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whose contracts were issued between October 15, 1991 and October 15, 1996. The
plaintiffs similarly have no way of verifying the "many" members of the Official
Fees class in particular.

2. "Kach class member subject to a judgment in favor of CAC could have
asserted his or her claims in this action as a defense or counterclaim in the prior
state court action."

RESPONSE: Controverted. The meaning of "could have" is critical and quite
ambiguous. To the extent that it suggests that the plaintiffs had knowledge of the
legal violations and therefore "could have" asserted the claims, for example, the
plaintiffs controvert this assertion. See plaintiffs’ additional uncontroverted fact 1,
below.

3. "Each class member subject to a judgment in favor of CAC is seeking to
relitigate in this action issues which were necessarily decided in the prior state
court action."

RESPONSE: Controverted. This is not a statement of fact but a legal conclusion
and as such will be addressed by plaintiffs in the argument portion of these

Suggestions.

Il. Plaintiffs’ Additional Uncontroverted Facts

1. Thousands of judgments were entered against absent class members in
cases where the judges themselves did not realize that CAC was claiming more
interest and fees than those to which it was entitled and, even when one judge
sought to question CAC’s practice, CAC’s attorney affirmatively directed his
attention away from the proper post-maturity interest clause in the installment
contract and affirmatively misrepresented to him an excessive post-maturity
interest rate applied. See transcript from CAC v. Collins in the Circuit Court of

Buchanan County, Missouri attached as Exhibit A. See also uncontroverted facts

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27 and 31 and supporting documents in plaintiffs' "Suggestions In Support Of
Plaintiffs’ Three Motions For Partial Summary Judgment Against CAC" ("27.
CAC apparently always charged compound interest in the same fashion as
charged on the Fielder/Williams and Henderson accounts when it repossessed a
vehicle and filed a collection action", and "31. Extrapolating from the 122
litigation files with charges for unauthorized post-maturity interest rates, CAC
charged such interest using false affidavits and false petition allegations on over
1/3 of the litigation accounts, which would equal a total of in excess of 2,400
accounts.")

2. CAC continued to take judgments and file suit based on false affidavits
claiming excessive post-maturity interest even after this case was removed to this

Court. (See the Henderson case, and Exhibits B and C attached hereto.)

iil. Preliminary matters

Before addressing the substance of CAC's Rooker-Feldman and abstention

arguments, the plaintiffs address several preliminary matters.

1. Members of class 1 generally do not have judgments or suits
against them (so that CAC's Rooker-Feldman and abstention
arguments would not apply to them)

In asserting that all of plaintiffs' claims relate to accounts with final
judgments entered by, or pending litigation before, Missouri courts (at page 3 of its
Suggestions), CAC chose simply to ignore the class definitions in this Court's
class certification order and the allegations of the Complaints. Obviously, there is
no connection between the allegations for members of the Official Fees class and
pending litigation or judgments against those class members. CAC's assertion is

entirely without basis, in fact or in the pleadings.

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2. A substantial number of members of class 2 also do not have
judgments or litigation pending against them.

Again, while the decided majority (but not all) of the members of class 2
were at least sued by CAC, a sizable number even of those sued never had
judgments taken against them, and do not have litigation pending against them.
Class two is composed of persons "charged" excess post-maturity interest
(whether by charges for interest at an unauthorized percentage rate, or charges
for compound interest, or both). Some CAC account debtors were apparently
charged post-maturity interest at an excessive percentage rate, but were never
sued. Similarly, not all of the suits filed were prosecuted to judgments, and a
significant number were dismissed. Again, CAC's allegation that all members of
this class are subject to pending state litigation or judgments is without basis in

fact or in the pleadings.

3. The suits and judgments relied upon by CAC here include
many wrongfully filed, prosecuted, and taken long after
notice that this conduct was wrongful, even long after this
suit was filed and CAC had responded

By way of general background, plaintiffs’ claims for relief are supported by
the facts of CAC’s continued filing of suits with false affidavits long after
removing this matter to this Court. See the Henderson case, in which judgment
was taken on 1/27/97 for 18% on a contract providing for no post-maturity interest
and Exhibits B (Judgment taken on 1/21/97 for 25% interest on contract providing
for post-maturity interest at 9%) and Exhibit C (suit filed on 4/3/97 for 18% on

contract providing for no post-maturity interest) attached hereto.

IV. CAC's Rooker-Feldman arguments

1. Overview of Rooker-Feldman
The Rooker-Feldman doctrine, as explained in Wright, Miller and Cooper,
Federal Practice and Procedure, Vol. 18 § 4469, is essentially the rule that the

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federal courts must afford full faith and credit to state court judgments, but raised
to be a matter limiting the jurisdiction of the federal courts on the ground that the
federal district courts have only original (not appellate) jurisdiction. In other
words, if a state court would afford one of its judgments res judicata effect, the
federal courts do not have jurisdiction to do otherwise. Or, if a claim before a
federal court amounts to an appeal or an ordinary collateral attack on a state
court judgment, the court does not have jurisdiction to adjudicate the claim.

But, by the same token, "In a federal court 'the judgment of a state court
will be accorded the same but no greater effect as res judicata than would be given
to it by the courts of the state in which it was rendered." Bryson v. Guarantee
Reserve Life Ins. Co., 520 F.2d 563, 566 (8th Cir. 1975).

Further, there is a long-standing and firmly established "exception" for
collateral attacks in federal courts on state court judgments that do not relitigate
the cases, but are based on independent equitable claims of "fraud on the court" or
complete want of personal or subject matter jurisdiction. (The plaintiffs submit
that examination of all relevant cases shows that this is no "exception", but

simply a restatement of an area in which res judicata would not in any event

apply.) As stated in McKay v. Pfiel, 827 F.2d 540, 543-4 (9thCir.1987):

Federal district courts, as courts of original jurisdiction, n4 may
not serve as appellate tribunals to review errors allegedly
committed by state courts. Atlantic Coast Line R. Co. v. Brotherhood
of Locomotive Engineers, 398 U.S. 281, 296, 26 L. Ed. 2d 234, 90S. Ct.
1739 (1970) ("Lower federal courts possess no power whatever to sit
in direct review of state court decisions."). The Supreme Court long
ago defined the difference between original proceedings, over which
federal district courts have jurisdiction, and those proceedings that
are only attacks on correctness of a state court's judgment, over
which they do not:

The question presented with regard to... jurisdiction . .
. is, whether the proceeding .. . is or is not in its nature a
separate suit, or whether it is a supplementary
proceeding so connected with the original suit as to form
an incident to it, and substantially a continuation of it. If

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the proceeding is merely tantamount to the common-law
practice of moving to set aside a judgment for
irregularity, or to a writ of error, or to a bill of review or
an appeal, it would belong to the latter category, and the
United States court could not properly entertain
jurisdiction of the case. Otherwise, the Circuit Courts of
the United States would become invested with power to
control the proceedings in the State courts, or would have
appellate jurisdiction over them in all cases where the
parties are citizens of different States. Such a result
would be totally inadmissible.

On the other hand, if the proceedings are tantamount to
a bill in equity to set aside a decree for fraud in the
obtaining thereof, then they constitute an original and
independent proceeding, and according to the doctrine
laid down in Gaines v. Fuentes (92 U.S. (2 Otto) 10, [23 L.
Ed. 524]), the case might be within the cognizance of the
Federal courts. The distinction between the two classes of
cases may be somewhat nice, but it may be affirmed to
exist. In the one class there would be a mere revision of
errors and irregularities, or of the legality and
correctness of the judgments and decrees of the State
courts; and in the other class, the investigation of a new
case arising upon new facts, although having relation
[*544] to the validity of an actual judgment or decree, or
the party's right to claim any benefit by reason thereof.

Barrow v. Hunton, 99 U.S. (9 Otto) 80, 82-88, 25 L. Ed. 407 (1878); ef.
Marbury v. Madison, 5 U.S. (1 Cranch) 137, 175, 2 L. Ed. 60 (1803)("It
is the essential criterion of appellate jurisdiction, that it revises and
corrects the proceedings in a cause already instituted, and does not
create that cause.").

(omitting footnote citing to Rooker) The McKay court goes on to discuss District of
Columbia Court of Appeals v. Feldman, 460 U.S. 462, 75 L. Ed. 2d 206, 108 S. Ct.
1303 (1983), and cites (at 544) Resolute Ins. Co. v. North Carolina, 397 F.2d 586 (4th
Cir.), cert. denied, 393 U.S. 978, 89 S. Ct. 446, 21 L. Ed. 2d 439 (1968) for further
support for the currency of this analysis. See also Simon v. Southern Railway
Company, 236 U.S. 115; 35 S. Ct. 255; 59 L. Ed. 492 (1915). Again, in In re Sun Valley
Foods Co., 801 F.2d 186, 189 (6th Cir. 1986):

Review of final determinations in state judicial proceedings
can be obtained only in the United States Supreme Court.

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District of Columbia Court of Appeals v. Feldman, 460 U.S. 462,
476, 103 S. Ct. 1803, 1811-12, 75 L. Ed. 2d 206 (1983). See 28 U.S.C. §
1257. See also Atlantic Coast Line Railroad Co. v. Locomotive .
Engineers, 398 U.S. 281, 296, 90S. Ct. 1789, 1747-48, 26 L. Ed. 2d
234 (1970); Rooker v. Fidelity Trust Co., 263 U.S. 418, 416, 44S. Ct.
149, 150, 68 L. Ed. 362 (1923). A United States district court "has
no authority to review final judgments of a state court in
judicial proceedings." Feldman, 460 U.S. at 482, 103 S. Ct. at
1315. This is true, even though the state court judgment may
have been erroneous. (Citations omitted).

There is, however, an exception to the general rule that
precludes a lower federal court from reviewing a state's
judicial proceedings. A federal court "may entertain a
collateral attack on a state court judgment which is alleged to
have been procured through fraud, deception, accident, or
mistake. . . ." Resolute Insurance Co. v. State of North
Carolina, 397 F.2d 586, 589 (4th Cir. 1968). The district court
below stated: "there has been no evidence... [of] facts such as
fraud, accident or mistake which . . . deceived the Court into a
wrong decree... ."

For similar holdings see Automobile Club of Michigan v. Stacey, 750 F. Supp. 259,
263-4 (E.D.MI 1990); Davis v. Bayless, 70 F.3d 367, 375-76 (5th Cir. 1995); Radiology
Institute, Inc. v. Rodriguez, 818 F. Supp. 477, 478-9 (D.PuertoRico 1993); In Re
Highway Truck Drivers Local 107, 888 F.2d 293, 298-299 (8rdCir.1989). A similar
analysis that arguably supports at least this general view is found in Kuge v.
Smith, 418 F.2d 1296, at 1299 (8thCir. 1969).

Probably the seminal federal case with respect to setting aside a judgment
for "fraud on the court" is Hazel-Atlas Glass Co. v. Hartford-Empire Co., 322 U.S.
238, 88 L. Ed. 1250, 64S. Ct. 997 (1944) (although it deals with matters all within the
federal courts). For a good discussion of the potent analysis showing the reach of
Hazel see Wright, Miller and Kane, Federal Practice and Procedure, Vol. 11 §
2870.

2. Analysis of plaintiffs' case under Rooker-Feldman
The plaintiffs submit that they certainly are not seeking appellate review of

any state court judgments, or indeed "review" of any kind. Rather, they are

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asserting affirmative claims that 1) were never before filed or presented in any
way in the state court cases (and that were not under any circumstances
compulsory counterclaims), 2) in any event for multiple reasons would not be
barred by Missouri res judicata rules. Also, the plaintiffs are 3) to the extent
necessary asserting claims for affirmative equitable relief from any judgments,
which would be granted as a matter of right under Missouri law and would not be
barred by res judicata.

CAC focuses on 3), the plaintiffs' claims for equitable relief from the
judgments, never addressing 1) and 2), the plaintiffs' claims that clearly have not
been litigated and could not be barred by any claim of res judicata (or Rooker-
Feldman bar). The plaintiffs will first discuss CAC's attack on the plaintiffs'
claims for equitable relief from the judgments, and will then discuss the
plaintiffs' other claims.

CAC cites a number of cases, published and unpublished (see 8th Circuit
Rule "Plan for Publication of Opinions", section 3) that it hopefully argues would
bar any action in equity to set aside or amend the judgments. However, despite the
rather sweeping language quoted, the plaintiffs submit that none of these cases
varies at all from the description of Rooker-Feldman set out above, and that in
particular the "exception" for an independent action in equity is not at all negated
by any of those cases.

Probably the case most heavily relied upon by CAC is Kamilewicz v. Bank of
Boston Corp., 92 F.3d 506 (7th Cir. 1996), cert. den., 117 S.Ct. 1569 (1997). But in
Kamilewicz the claims that there had been fraud on the court were litigated in a
subsequent hearing, under the state trial court's continuing jurisdiction in that
class action; setting aside the judgment would indeed have been "review" of a
matter already presented to the state court, and ignoring the res judicata effect of

decisions by that court of matters actually presented to it. Again, the state court

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continued to hold jurisdiction over the class case, so that it was entirely proper
and manageable for the state court to hear such motions. By contrast, in the
instant case, any action to set aside or amend the state court judgments must
either be brought in one court in a class action — meaning that it will not be
presented to all of the many separate courts where the judgments were entered —
or it will be doomed to ridiculous piecemeal handling court by court (and,
practically speaking, will never happen).

The plaintiffs thus submit that Rooker-Feldman as applied to this case
could not even possibly effect more than the limited part of plaintiffs' case that
would set aside or amend state judgments, and that any Rooker-Feldman
question further boils down to what res judicata effect, if any, such judgments
have, and whether if necessary Missouri law would support actions to set them
aside or modify them. The plaintiffs will now discuss how most of their claims do
not run afoul of res judicata even where there are judgments, and how Missouri
and federal law in any event clearly supports affirmative actions to set aside or

amend such judgments.

V.__Plaintiffs' case, res judicata and actions in equity

1. Many claims obviously not touched by res judicata; defense
not asserted

As noted at the beginning of these Suggestions, the Official Fee Class
members are not generally judgment debtors or in litigation brought by CAC, so
there are no res judicata questions related to their claims. Similarly, a sizable
(but unknown) number of the Post-Maturity Interest Class members either were
never sued or never had judgment taken against them; likewise, their claims

could not be subject to res judicata questions.

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In addition, it should be noted that CAC has filed multiple pleadings in this
case, and not once, before these motions, has it raised the defense of res judicata,
which by ordinary pleading requirements would constitute a waiver of that

defense.

2. No compulsory counterclaims in Associate Circuit cases

The Post-Maturity Class asserts claims against CAC under Chapters 408,
365, and 407, and under 9-507 of the UCC. Of course, these claims have not been
litigated.

It is important at this stage of the discussion to clarify one issue: contrary
to assertions and misleading authority cited by CAC, since all CAC collection
actions took place in Associate Circuit Court, counterclaims were in any event not
compulsory (regardless of their possible connection to the transaction in the
petition). CAC cites Myers v. Clayco Bank, 687 S.W.2d 256 (Mo.App. 1985);
Brannan v. Eisenstein, 804 F.2d 1041 (8th Cir. 1986) and Podhorn v. Paragon
Group, 795 F.2d 658 (8th Cir. 1986) to support its assertion that a compulsory
counterclaim rule applies. However, CAC ignores the controlling Missouri
Supreme Court case, Rahman v. Matador Villa Associates, 821 S.W.2d 102
(Mo.banc 1991), which holds that the compulsory counterclaim rule does not apply
in associate circuit court. Once again CAC has avoided presenting to this Court
authority that would contradict its misleading citations.

CAC’s reliance on Myers v. Clayco State Bank, 687 S.W.2d 256
(Mo.App.W.D. 1985) in this regard is totally misplaced. There a group of
guarantors were sued by the bank on a $250,000.00 promissory note. The bank won
summary judgment. The guarantors then sued the bank. The court dismissed
this suit, ruling that the claims should have been asserted as compulsory
counterclaims in the bank’s earlier suit. In affirming the trial court’s dismissal,
the court of appeals did not even mention, much less rule on, the issue in the case

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at bar, i.e., whether the compulsory counterclaim rule applies in proceedings
governed by Chapter 517. This was obviously because the suit in Myers was not
brought pursuant to Chapter 517, in that it involved a claim for $250,000.00.
Section 517.011.1(1), quoted above, only applies to suits seeking up to $25,000.00. The
Myers case therefore has no application here.2 Similarly, Rahman controls over
the earlier tentative suggestion of Missouri law found in Podhorn. In fact, CAC
ignores CAC ignores the Highth Circuit’s admonition in Podhorn that a federal

court is required to apply the state law as interpreted by the courts of the state.

3. Plaintiffs' claims would in any circumstance not have been
compulsory counterclaims; no res judicata bar

CAC contends that Missouri associate circuit judges necessarily
determined the issues raised by plaintiffs when entering judgment on CAC’s
deficiency claims and therefore plaintiffs are collaterally estopped from raising
their TILA [or other state law] violations in this action. CAC cites Cotton v.
Federal Land Bank of Columbia, 676 F.2d 1368 (11th Cir. 1982) in support of this
contention.

True enough, the court there said that in determining whether the creditor
had a right to foreclose on the real estate at issue the state court would necessarily
have considered the validity of the notes and the deeds to secure the notes and,
accordingly, would have considered whether TILA violations had occurred. But

in citing Cotton CAC ignores the crucial distinction between it and this case - the

2 CAC’s assertion of a "compulsory counterclaim" non-issue here mirrors
its behavior at the class certification stage, where it claimed the federal
compulsory counterclaim rule would require it to file thousands of counterclaims
against absent class members, thereby rendering this case unmanageable. At
that time CAC cited numerous older decisions in its favor without bothering to
mention the most recent decision on point, a case in which its own attorneys were
involved, had gone the other way. Now CAC cites the Myers decision, which is
clearly not on point, and ignores the Missouri Supreme Court’s decision in
Rahman,which clearly is.

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fact that real estate secured the notes in Cotton, whereas the installment contracts
in this case are secured by cars. This distinction is crucial because the only
transactions subject to rescission (i.e., invalidity) by reason of TILA violations are
those secured by real estate. See 15 U.S.C. § 1635. So, when the court in Cotton
spoke of the validity of the notes and deeds securing them in the context of TILA, it
could only have been with reference to the rescission provisions of TILA. Of
course, no claim is made in the instant matter that any of the installment
contracts is invalid by reason of any TILA violation because none of the
installment contracts at issue is secured by real estate. Moreover, no claim is
made that any of the contracts is invalid for violation of any state law. Cotton
therefore has absolutely no bearing on the issues in this case.

More to the point on this question is Peterson v. United Accounts, Inc., 638
F.2d 1134 (8th Cir. 1981). As previously noted by this Court, TILA (and Fair Debt
Collection Practices Act) counterclaims are deemed permissive under Peterson.
See Fielder v. Credit Acceptance Corporation, 175 F.R.D. 3138, at 321. A permissive
counterclaim by definition is not lost by failure to assert it in the creditor’s suit on
the underlying transaction. Numerous courts have held TILA claims, to continue
this example, to be permissive counterclaims to a creditor’s collection action.
Spartan Grain & Mill Co. v. Ayers, 581 F.2d 419 (5th Cir. 1978, cert. denied, 444 U.S.
831, 100 S.Ct. 59, 62 L.Ed2d 39 (1979) (counterclaims are permissive, relying on
cases which held that creditor collection claims are also permissive); Brady v.
C.F. Schwartz Motor Co., 723 F.Supp. 1045 (D.Del. 1989); Christy v. Heights
Finance Corp., 101 B.R. 542 (C.D. Ill. 1987) (failure to raise TILA claim in
consumer’s bankruptcy is no bar to subsequent suit against creditor); Daugherty
v. First Bank & Trust Co., 435 F.Supp. 218 (N.D.Ind. 1977) (relying on rule that

creditor counterclaims are permissive to consumer TILA actions).

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CAC’s statement (in its summary judgment suggestions) that “by entering
default judgments against class members and in favor of CAC, the Missouri
courts necessarily made a finding that CAC was entitled to default judgments”?
begs the question, which is: What issues in litigation, if any, are foreclosed by a
prior judgment, particularly a default judgment? The court in a case cited by
CAC, Hernandez v. Westoak Realty & Investment, Inc., 771 S.W.2d 876, 884
(Mo.App. 1989), wrestled with this question. The Hernandezes had sued a lender
and a builder to set aside a foreclosure sale were awarded a default judgment
setting aside the foreclosure. In a subsequent suit they attempted to claim that the
lender and the builder were not separate corporations and that the earlier default
judgment was res judicata to this effect. Refusing to accord the prior default

judgment res judicata effect, the court said:

It is difficult enough to delineate the issues on which litigation is, or
is not, foreclosed by a prior judgment entered after a trial. This
difficulty is made more acute by a default judgment, where as here,
the issues were not joined by responsive pleadings and no trial
occurred. However, contrary to the Hernandezes’ contention, the
alter ego issue was not necessarily resolved by the default judgment
in [the prior litigation].

Id., at 884. And, in response to the Hernandezes’ contention that they had alleged
in their pleadings in the prior suit that the lender and the builder were “one and
the same entity”, the court said:

The Hernandezes, however, do not tell us what proof would be
necessary to support a request to set aside a foreclosure sale and,
thus, fail to tell us whether all or part of these allegations were
necessary to support their request to set aside the foreclosure sale in
[the prior case]. This failure, in turn, results in a failure to
demonstrate to us that the alter ego theory was necessarily
determined by the default judgment. We are not required to pick up
the cudgels for the Hernandezes and make those arguments for
them.

3 CAC’s Suggestion in Support, page 5.

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Id., at 885. Likewise, this Court is not obliged to pick up the cudgel for CAC; it is
CAC's responsibility to plead and prove any res judicata bar.

But in any event, good authorities suggest that where a default judgment is
at issue, there is no issue preclusive effect from the judgment. As stated in
Jackson v. R.G. Whipple, Inc., 225 Conn. 705; 627 A.2d 374, 381 (Conn. 1993), "In the
comments to the section on issue preclusion in the Restatement, it is stated that
‘in the case of a judgment entered by confession, consent, or default, none of the
issues is actually litigated.' (Emphasis added.) 1 Restatement (Second),
Judgments § 27, comment (e) (1982)." See also Wright, Miller and Cooper,
Federal Practice and Procedure, Vol. 18 § 4442 ("This result is correct ....") And
Missouri cases on res judicata cite and follow the Restatement of Judgments.
See, for example, Sanders v. Insurance Company of North America, 904 S.W.2d
397, 401 (Mo.App. 1995).

Further, it is now time to pause and consider just what CAC is saying:
That it has obtained thousands of inflated default judgments using false affidavits
(and in flagrant violation of pleading statutes); that it has continued suing debtors
and taking such judgments using false affidavits; and that while it was all a big
mistake, CAC can nonetheless ratify its conduct used to obtain those judgments,
and use those judgments as a sword now (rather than immediately satisfying
them or setting them aside, or continuing to ignore any possible res judicata effect
as it did in each of its Answers in this case) to assert res judicata and bar
plaintiffs' claims. This is patently inequitable, to put it mildly. And, indeed, this
would be a basis for ignoring any preclusive effect of the default judgments. 1
Restatement Judgments 2nd, § 68.

In any event, plaintiffs have amply demonstrated, by their cites to Rahman,

Peterson et al. above, that their claims herein cannot be properly characterized as

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compulsory counterclaims to CAC’s associate circuit court debt collection actions
and thus are not barred by res judicata.

The plaintiffs’ statutory claims clearly were not litigated. Even if they could
have been brought in state court and there were a compulsory counterclaim rule,
None of the claims asserted by plaintiffs in this case would have been adjudicated
in connection with CAC’s collection actions. They are all affirmative claims for
relief under TILA, the Motor Vehicle Time Sales Act, the Missouri statutes on
defaults, the Missouri Uniform Commercial Code and the Merchandising
Practices Act, each with their own separate elements. They all stand on their own
and plaintiffs were not required by any compulsory counterclaim rule to file them
in CAC’s collection actions.

This is also in accord with § 22, Restatement of Judgments 2d, which
provides that where the defendant may interpose a claim as a counterclaim but he
fails to do so, he is not thereby precluded from subsequently maintaining an action
on the claim unless the counterclaim was considered compulsory by statute or

rule.

4. Actions in equity

The plaintiffs suggest that, since res judicata does not bar their claims, it
may not be necessary for the judgments to be set aside, if damages awarded in
appropriate claims compensate for the excess amounts awarded in the defective
judgments. If judgments are to be set aside, while the rule of Hazel (see below)
would support simply wiping the judgments out and leaving CAC with no
amounts due at all, it would be within the realm of equity for the judgments to be
amended, reduced only to eliminate improper awards.

At the outset it must be noted that the nature of the fraud practiced upon the
courts and the class members transcends the type of fraud courts of equity might
refer to as intrinsic and thus insufficient to justify relief against a judgment. In

the instant matter, CAC, with the full and enduring participation of its collection
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attorneys across the state, have joined forces to file false affidavits and false
petitions in thousands of collection suits across the State of Missouri. Thousands
of default judgments have been taken which include excessive post-maturity
interest and unauthorized compound interest based upon such affidavits. This
case thus involves far more than injury to an individual litigant; rather, it
amounts to a wholesale assault on the system of justice. In such a circumstance
the U.S. Supreme Court has declared that equity will intervene to grant relief
against such judgments, regardless of when they were entered. Hazel-Atlas
Glass Co. v. Hartford-Empire Co., 322 U.S. 288 (1944).

In Hazel-Atlas, Hartford and its lawyers submitted to the court a fake trade
journal article supporting their position in connection with patent litigation
against Hazel. The article, which had been submitted for publication under the
name of a former President of the Glass Workers’ Union, had in reality been
written by Hartford and its attorneys. In granting equitable relief to Hazel from
the fraudulently-obtained judgment, the court, after noting that the matter did not

concern only private parties, said:

Furthermore, tampering with administration of justice in the
manner indisputably shown here involves far more than an injury to
a single litigant. It is a wrong against the institutions set up to
protect and safeguard the public, institutions in which fraud cannot
complacently be tolerated consistently with the good order of society.
Surely it cannot be that preservation of the integrity of the judicial
process must always wait upon the diligence of litigants. The public
welfare demands that the agencies of public justice be not so impotent
that they must always be mute and helpless victims of deception and
fraud.

Id., at 246. This same rule obtains in the state courts of Missouri. In Sutter v.
Easterly, 189 S.W.2d 284 (Mo. 1945), the Missouri Supreme Court affirmed the
setting aside in equity of a judgment in a personal injury action which was
procured by manufactured evidence. In that case the plaintiffs attorney got an

individual who was nowhere near the accident scene to testify that he had

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witnessed the accident and that the defendant was on the wrong side of the road.
In rejecting the plaintiffs argument that the mere giving of false evidence will

not authorize equity to vacate a judgment, the court said:

In this case we have more than the perjured testimony of witness
Schilling. We find the party’s chief attorney engaged in a plot to
furnish a false witness to “make a case” with perjured testimony and
a conspiracy with such false witness to carry out the plot.

* * * * *

[Plaintiffs attorney’s] scheme and conspiracy were such a violation
of a lawyer’s duty to the court, -- a duty imposed not alone by
principles of honesty and good morals but also by a code of ethics
adopted as rules of court, as to amount to a fraud on the court for
which equity will grant relief.

Id. at 292-93. The court went on to quote at length from Hazel-Atlas, including the
quote from that case set out above. It is thus clear that Missouri courts will grant
relief in equity from judgments procured by fraud on the system of justice itself.
That is exactly what we have in this case.

Even if CAC’s contention that it did not intend to charge consumers fees or
interest unauthorized by law is taken at face value, Missouri courts would still
have the power to grant relief in equity from judgments procured by CAC’s false
affidavits. Judgments can be set aside for constructive fraud as well as for
intentional fraud. Johnson v. Stull, 303 S.W.2d 110, 116 (Mo. 1957) Gudgment based
on service by publication set aside because affidavit upon which constructive
service obtained falsely stated defendant could not be found in state; unnecessary
to show affiant intended to deprive defendant of notice). The same goes for a
judgment procured by mistake. Krashin v. Grizzard, 31 S.W.2d 984, 987 (Mo. 1930)
(“equity will interpose its aid when a wrong has been done to a litigant through
accident or mistake as readily as when there has been fraud in the concoction or

procurement of a judgment”).

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Likewise, the Restatement of Judgments, Second, § 68 provides that a
judgment by default may be avoided if the judgment “was based on a claim that
the party obtaining the judgment knew to be fraudulent”. Likewise, § 70 of the
Restatement provides for relief from a judgment in a contested action where it
was based upon a claim the party knew to be fraudulent.

It is worth noting that Missouri courts will, in such actions in equity, set
aside judgments rendered by other Missouri courts, and that this is a matter of
right under Missouri law if the facts support the action. See Sanders, supra
(requiring the Jackson County Circuit Court to set aside a judgment of the Cape

Girardeau Circuit Court in an independent action in equity).

VI. Abstention/stay issue

The fact that CAC has sued or is in the process of suing thousands of poor,
unsophisticated, unrepresented debtors in associate circuit court collection suits
across the State of Missouri can hardly furnish any reason for this Court to
decertify this class action. To the contrary, the very fact of such a multiplicity of
collection actions goes to the heart of the reason for proceeding with this case as a

class action, which is that:

The legal system cannot afford a ‘multiplicity of small individual
suits for damages’ and the aggrieved persons cannot economically
obtain redress unless they employ the class action device. Deposit
Guaranty National Bank v. Roper, 445 U.S. 326, 339, 100 S.Ct. 1166,
1174, 63 L.Ed.2d 427 (1980). Therefore, the aggregation of relatively
small individual claims in this case where the class members will be
the primary beneficiaries of any relief is not only authorized by Rule
23, but is precisely what the rule intended. Id.; Califano v. Yamasaki,
442 U.S. at 682, 99 S.Ct. At 2545.

Linquist v. Bowen, 633 F.Supp. 846, 861 (W.D.Mo. 1986); affirmed 813 F.2d 884 (8th
Cir. 1987).

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Just as CAC's cites to compulsory counterclaim cases have no application,
neither does its cite to Darsie v. Avia Group Int'l., 36 F.3d 7438 (8th Cir. 1994). For,
as noted by CAC, the compulsory counterclaim rule furnished the underpinning
for the Eighth Circuit’s decision in that case.4 But even if Darsie were applied in
the instant matter, a balancing of the four listed factors set out at page 8 of CAC’s
Suggestions in Support would augur strongly against abstention. Taking those
factors one by one demonstrates this as so.

The first factor, inconvenience of the federal forum, is glossed over by CAC.
This is perhaps because CAC, not plaintiffs, made the original choice to be in
federal court. CAC obviously believes this to be a convenient forum. Plaintiffs
agree with CAC on this point. This first factor thus would weigh heavily in favor
of keeping this case here.

The second factor, the chance to avoid piecemeal litigation, also weighs
heavily in favor of retention. In certifying this case as a class action this Court
found that there are questions of law and fact common to the class members’
claims, that the named plaintiffs’ claims are typical of those of the class members,
that CAC "has acted or refused to act on grounds generally applicable to the
class" and that the plaintiffs "may not have the resources to sue individually and
the results of thousands of state court decisions could be inconsistent." Fielder v.
Credit Acceptance Corp., 175 F.R.D. 3138, 320-1 (W.D.Mo. 1997). The clear aim of
CAC is not to avoid piecemeal litigation, but to embrace it, so long as it is on its
own turf. This second factor would also thus weigh heavily in favor of keeping the
case here.

The third factor - priority of filing - is, at worst, a neutral factor. Plaintiffs

filed this action on October 15, 1996. CAC has never really provided plaintiffs or

4 CAC’s Suggestions, page 9.

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the Court with concrete numbers concerning the collection actions it has filed and
when it filed them. While CAC now says it has “forwarded” approximately 8,782
accounts to Missouri attorneys for suit, it does not say how many suits were in fact
filed, let alone when they were filed - whether before or after plaintiffs filed this
class action. Neither does CAC give a clue as to when the suits were filed which
resulted in the approximately 4,360 judgments it claims to have taken to date.
And, while making much of the fact that one of the judgments it has taken was
against the class representatives Henderson, CAC neglects to point out that its
suit against the Hendersons was not filed until December 3, 1996, well after CAC
had removed this case to this Court and filed its Answer admitting its fraudulent
conduct in the Fielder/Williams collection suit. So, while CAC studiously avoids
giving out any meaningful numbers by which to gauge this third Darsie factor, it
is telling that the one case it chooses to emphasize - the Henderson case - clearly
mitigates against abstention, having been a later-filed state court case.

The fourth Darsie factor concerns the source of governing law. Plaintiffs’
claims in this case are drawn from both state and federal law. CAC’s confidence
in this Court to decide the state law questions was unqualified fifteen months ago
when it filed its Removal Petition. CAC points to nothing that has happened since
then to shake this confidence. It merely says that "this Court is in no better
position to interpret those statutes than the state courts."5 This is hardly a reason
to abstain.

The fifth factor, the state court’s ability to adequately the parties’ rights,
weighs heavily in favor of retention. This forum is undoubtedly the far superior
one in which to litigate plaintiffs’ claims. One need only to sit through an

afternoon’s collection docket in associate circuit court to realize this. Perhaps this

5 CAC’s Suggestions in Support, p. 9.

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is why the legislature, the Missouri Supreme Court in Rahman and the Missouri
Court of Appeals in Lankheit were all loathe to accord res judicata effect to
associate circuit court judgments in bar of later-asserted consumer claims.
CAC’s contention that plaintiffs demonstrated their confidence in the state court
to protect class members’ claims by filing this case there misses the mark.
Plaintiffs filed this case in circuit court as a class action. CAC is not asking this
court to abstain in favor of a class action already on file in circuit court, but to
abandon thousands of unrepresented debtors, leaving them to their own devices in
CAC’s individual collection actions on file in associate circuit courts.6 As the
record clearly demonstrates, and as CAC indeed implicitly admits,’ those courts
have thus far been wholly ineffective in the face of CAC’s collection machine,
rendering thousands of judgments for fraudulently claimed interest and official
fees against unrepresented debtors. This Court, on the other hand, has already
demonstrated, by certifying this matter to proceed as a class action, that it is a far

superior forum in which to seek justice for CAC’s hapless debtors.

Conclusion

The plaintiffs submit that CAC's motions are both without merit, and

should be overruled.

6 CAC asks this Court to "stay this action to permit resolution of litigation
currently pending beween CAC and members of the plaintiff classes in the
Missouri state courts." CAC’s Suggestions in Support, pp. 7-8.

7 CAC’s president implicity acknowledges in his affidavit attached to CAC’s
Suggestions in Support that judgments for too much money have been taken.
Also, CAC by its post-judgment filings in the Henderson collection action in St.
Louis openly acknowledges that it obtained a judgment for too much interest.

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Case 4:96-cv-01210-ODS Document 132 Filed 04/15/98 Page 22 of 39
THE BROWN LAW FIRM

by: Lobe Lo

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MADDEN

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(816) 531-2224
“FAX” (816) 531-2147

ATTORNEYS FOR PLAINTIFFS

Certificate of Service

I hereby certify that a copy of the foregoing was faxed and mailed this 16th
day of March, 1998, to:

Ms. N. Louise Ellingsworth

Mr. Frank W. Lipsman

3500 Kansas City Place

1200 Main Street

Kansas City, MO 64105

fax number 374-3300

Attorney for defendant Credit Acceptance Corporation

Mr. John P. Scotellaro
Mr. Robert M. Moye

70 West Madison Street
Suite 3300

Chicago, Illinois 60602
fax number 312-372-2098

LZ

Attorney for plaintiffs

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IN THE MISSOURI COURT OF APPEALS
WESTERN DISTRICT
CREDIT ACCEPTANCE CORP.,
Appellant,
W. D. No. 53051

vs.

KENNETH AND CONNIE COLLINS,

Respondents.
IN THE BUCHANAN COUNTY CIRCUIT COURT

FIFTH JUDICIAL CIRCUIT, DIVISION IV
Honorable James William Roberts, Judge

CREDIT ACCEPTANCE CORP.,
Plaintiff,
Cause No. CV695-9] 8ACX

VS.

KENNETH AND CONNIE COLLINS,

Defendants.

TRANSCRIPT ON APPEAL

APPEARANCES:

Mr. Kevin Kelly

Attorney at Law

1005 Grand Ave. #700

Kansas City, Missouri 64106
For: Plaintiff

Ms. Connie Collins

2535 South 12th St.

St. Joseph, Missouri 64503
For: Pro Se

b-|

EXHIBIT.

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(June 14,

THE

style of the case is Credit Acceptance Corp. vs.

Kenneth Collins.

Court; and this is

new trial from that proceeding.

its attorney,

a corporate representative,

MR.

not have a Credit Acceptance Corp.

THE

Kevin Kelly.

1996)

COURT: This is Case Number CV695-918. The

Connie and

The matter has been tried in Associate

a trial de novo or, in other words, ai‘total
The Plaintiff is present by
And do--And does the--Do you have

also?

KELLY: I have my witnesses, Judge. I do
representative.
COURT: All right. All right. The

Defendants are present in person and without an attorney. Is

everybody ready to
THE
MR.
THE

MR.

starting the trial,

go?

DEFENDANT: Yes.

KELLY: Yes. ,
COURT: All right. Mr. Kelly?

KELLY: Your Honor, prior to actually

I would ask the Court to take judicial

notice of its--of its file and bring to the Court's attention

the following items.

On May 15th of this year--There isa

file stamped copy of Plaintiff's Request for Admissions of

Fact and Genuineness of Documents to the Defendants; and, as

of today's date, I

have no answers to those questions and

EXHIBIT. A-%

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Case 4:96-cv-01210-ODS Document 132 Filed 04/15/98 Page 26 of 39

having with this. The amounts were incorrect on it. The
signat--Like I said, I did not sign it. They told my husband
it was okay for him to sign my name.
THE COURT: What?
THE DEFENDANT: I did not sign the cont
The gentleman at A-1 Auto Credit told my husband it we
to sign my name. We signed--We signed--
THE COURT: All right. Hang on a seco!
We'll get some testimony in a minute here.
THE DEFENDANT: Okay. _
THE COURT: They're asking you to admit what
the contract provides. That it will either provide it or it

won't. That's--I see nine percent interest. I don't seé 23
percent in the contract. But perhaps it's in here after

default.

MR. KELLY: If I may, Your Honor. On the
contract running across the page in the middle is five boxes--
are five boxes on the left-hand side. It says annual

percentage rate. Your copy may not be as clean as mine. :

THE COURT: No, it's clear--a clean copy. I

see, the annual percentage rate is--
MR. KELLY: Yeah.

THE COURT: --23 percent, yes. Okay. Here,

EXHIBIT AS

\\

IN THE CIRCUIT COURT OF BUCHANAN COUNTY, MISSOURI
ASSOCIATE CIRCUIT DIVISION

. CREDIT ACCEPTANCE CORPORATION
25505 West Twelve Mile Road !-16-Go at 00
tre

Southfield, Michigan 48034-8339

(U690 5°18 AL
Plaintiff, oo

vs.

KENNETH COLLINS AND CONNIE COLLINS . oe » Bacco
Serve at: 2535 W. 12th Street Le
St. Joseph, Missouri 64503

Defendants. Lee
PETITION

COMES NOW, the Plaintiff, Credit Acceptance Corporation, and
for its cause of action against the Defendants states:

1. The Plaintiff is a Michigan corporation authorized to
do business in this state.

2. Plaintiff is the assignee of a certain retail
installment sales contract dated 04/16/95, a copy of which is
attached and labeled Exhibit A pursuant to said contract.
Plaintiff is entitled to interest on said retail installment
sales contract in the amount of 23.00%.

3. Defendants entered into said contract to purchase a

1987 Chevrolet.
4. Defendants is/are in default of said contract, and is

currently due and owing the Plaintiff $3,362.38 plus interest for
11/17/95.

5. Plaintiff has demanded payment from Defendants but
Defendants have refused to pay.

WHEREFORE, Credit Acceptance Corporation, prays for judgment
against the Defendants in the principal amount of $3,362.38, for
interest on the unpaid balance at the rate of 23.00% per annun,
for reasonable attorney fees, for the Plaintiff’s costs incurred
herein, and for other such relief as justice may require.

Respectfully submitted,
WISE & FORD

chal,

Kevin’ Kelly/{MBE #34408

1005 Grand/Avenue, Suite 700
Kansas City, Missouri 64106
(816)842-6468 FAX: 842-7676
ATTORNEY FOR PLAINTIFF

#215240
EXHIBIT. A-+

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KEVIN KELLY

1005 GRAND AVE

SUITE 700

KANSAS CITY MO 64106

CREDIT ACCEPTANCE CORPORATION
Plaintiff

vs.
CONNIE COLLINS, KENNETH COLLINS

Defendant

/
AFFIDAVIT Of PROOF and of NON - MILITARY SERVICE
STATE OF MICHIGAN, COUNTY OF OAKLAND

PATRICIA RIVERS of full age, being duly sworn according to law,
upon my oath depose and say:

1) I am an accounts receivable clerk of plaintiff, and am duly
authorized to make this affidavit.

2) I am fully familiar with the books and business of the
plaintiff. The account of the defendant(s), above referenced,
set forth in the complaint in this cause is a true and accurate
copy of the books of original entry of the plaintiff.

3) The service for which said charges were made, were performed
for the defendant, at the special instance and request of the
defendant. Said charges are fair and reasonable, and are as per
agreement. The defendant promised to pay the sum therefor.

4) Credit has been duly given for all payments, counterclaims
and set offs and there now remains due and owing from the said
defendant to the plaintiff the sum of $3362.38 together

with interest from 111795 , at 23.00 &%.

5) No defendant named herein is a minor or incompetent person.

6) This claim is based on a writ of attachment, capias ad respondendum,
replevin, or claims based directly upon the sale of a chattel wherein
a chattel has been repossessed peaceably or by legal process.

7) After diligent search, I know that no defendant named herein is
in the military service of the United States.

8)That I have read the petition filed with the court in this action and
it is true and correct to the best of my a and belief.

Swor (and subscribed before me FOOL be

thisMG4 1 J 149. . PATRICIA RIVERS
NM ay (ellen Yok
NOTARY —

MARY COLLEEN FORD
NOTARY PUBLIC - WAYNE.COUNTY, MH
215240 MY COMMISSION EXPIRES cB/1O/Ng

EXHIBIT A-5 .

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IN THE CIRCUIT: OURT OF BUCHANAN COUNT. _ ‘ISSOURI
e cet ok 72

Mey 4 5
CREDIT ACCEPTANCE CORPORATION, Pep -
Plaintiff,

rc

Case No.: CV 6952 485 eh ke J

VS.

KENNETH & CONNIE COLLINS,
Defendant.

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PLAINTIFF'S CAC REQUEST FOR ADMISSIONS
OF FACT AND GENUINENESS OF DOCUMENTS TO DEFENDANT

COMES NOW the Plaintiff, Credit Acceptance Corporation, CAC, and propound
the following requests for admissions of fact and genuineness of documents to the
Defendants to be answered in accordance with Supreme Court Rule 59:

1. Please admit the Plaintiff, Credit Acceptance Corporation, CAC, is a

Michigan corporation.
2. Please admit that on or about April 16, 1995 A - 1 Auto Credit [hereinafter

dealer] and defendants entered into a Retail Installment Sale Contract regarding the
Defendant's purchase of a 1987 Chevrolet S-10 motor vehicle.

3. Please admit that the dealer assigned the contract to CAC.
4. Please admit that CAC is a holder in due course of the contract.
5. Please admit that the contract provides that Defendants would make

monthly payment of $207.82 under the contract.

6. Please admit that Defendants made no payment on the contact.

7. Please admit that CAC has made demand upon the Defendant for
payment.

8. Please admit that CAC has performed each and every obligation under

the contract.

9. Please admit that the contract provides for interest on the unpaid balance
at the rate of 23% per annum.

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10. Please admit that the contract provides the Defendants are obligated to
pay CAC reasonable attorney fees and costs.

41. Please admit that the Defendant is indebted to CAC in the principal sum
of $3,362.38.

42. Please admit that the Kenneth Collins executed the contract.

13. Please admit that Connie Collins executed the contract.

DOCUMENTS

14. Please admit the genuineness of the Retail Installment Sale contract
attached to the Plaintiff's Petition.

15. Please admit the genuineness of the Buyers Guide attached hereto and
made a part hereof.

WISE & FORD

|) oye

Kevin) Kelly - MBE 34408
1005!Grand Avenue, Suite 400
Kansas City, Missouri 64106
(816) 842 - 6468

ATTORNEY FOR PLAINTIFF

RequestforAdmissions.CAC EXH | B mAT

Case 4:96-cv-01210-ODS Document 132 Filed 04/15/98 Page 30 of 39
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L, RETAIL INSTALLMENT CONTRACT | __
AHO SECURITY AGREEMENT Aga

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guarantor, jornily and severally. successors and 8snigns --

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CREDIT ACCEPTANCE CORPORATION. the Sitver Trangie Bunkhing
25505 West Tweve Mile Road, Suite 3000. Souinteld, Micmgan 48034-8339. Toll Free (800) 634-1506

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IN THE CIRCUIT COURT OF SAINT LOUIS COUNTY, MISSOURI
ASSOCIATE JUDGE DIVISION

SS #XXX-XX-XXXX,
405 Auselbrook St
Saint Louis, Missouri 63122

CREDIT ACCEPTANCE CORPORATION, | )
a Corporation, )
)
Plaintiff, )
) Cause No.:

vs. )

) Division No.:41
LISA GAINES, )
)
)
)
)
)

Defendant.

PETITION -- BREACH OF CONTRACT

COMES NOW Plaintiff, CREDIT ACCEPTANCE CORPORATION, by and through
its counsel, Louis A. Vlasaty, and for its Petition against the Defendant, says unto this Honorable
Court as follows:

1. That the Plaintiff is a Michigan Corporation authorized to do business in the State
of Missouri.

2. Plaintiff is the assignee of a certain retail installment sales contract dated
May 18, 1995, a copy of which is attached and labeled Exhibit A. Pursuant to said contract
Plaititiff is entitled to interest on said retail installment sales contract at the rate of
25.000%, plus reasonable attorney fees.

3. Defendant entered into said contract to purchase a 1989 Chevrolet.

4. Defendant is in default of said contract, and the amount currently due and owing

the Plaintiff is $5,879.17, plus interest from date of demand as per the statement of
account attached and labeled Exhibit B.

5. Plaintiff has demanded payment from Defendant but Defendant has refused to pay.

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Case 4:96-cv-01210-ODS Document 132 Filed 04/15/98 Page 32 of 39
WHEREFORE, Plaintiff prays judgment against the Defendant in the principal amount
of $5,879.17, together with interest at the rate of 25.000% per annum from the date of demand
“a the amount of $672.27, for a reasonable attorney's fee of $888.48, for a total of $7,439.92, and
for costs herein expended.

CAMPBELL & COYNE, P.C.

Louis A. Viasaty #27502

7777 Bonhomme Ave, Suite 1500
St. Louis, Missouri Mo. 63105
(314) 721-5327

Attorney for Plaintiff

THIS IS AN ATTEMPT TO COLLECT A DEBT AND ANY INFORMATION OBTAINED
WILL BE USED FOR THIS PURPOSE.

File #96-00939-1
PRI

EXHIBIT__O- 2

Case 4:96-cv-01210-ODS Document 132 Filed 04/15/98 Page 33 of 39
BNS BLDG. #1500
a7 BONHOMME AVE

LOUIS MO 63105

FCREDIT ACCEFTANCE CORPORATION
w Plaintiff
"OVS,
GORDON L GAINES, LISA GAINES
Defendant
/.
AFFIDAVIT of PROOF and of NON —- MILITARY SERVICE
STATE OF MICHIGAN. COUNTY OF OAKLAND

CARLTON COOK of full age, being duly sworn according to law,
upon my cath depose and say:

1) I am an acceunts receivable clerk of plaintiff, and am duly
authorized te make this afFidavit.

<=? IT am fully famittar with the books and business of the
plaintiff. The accaunt of the defendant(s), above referenced,
get forth in the camplaint in this cause is a true and accurate
copy of the books of original entry of the plaintiff.

3) The service for which said charges were made, were performed
for the defendant, at the special instance and request of the
defendant. Said charges are fair and reasonable, and are as per
agreement. The defendant proaised to pay the sum therefor.

4) Credit has been duly given for all payments, counterclaims
and set offs and there now remains due and owing from the said
defendant ta the ‘plaintiff the sum of $9679. 17 tagether

with tnteres#! fram 10/01/96 , at 29.00 ZX.

5) No defendant named herein is a minor or incompetent person.
6) This claim is hased on a writ of attachment, capias ad respondendum
replevin, or claims based directly upon the sale of a chattel wherein

a chattel has been repossessed peaceably or by legal process.

7) After diligent search, I know that no defendant named herein is
in the military service of the United States.

G)That I have read the petition filed with the court in this action and

4t is true and correct to the best "Lull nowledge and, belief.
Sworn end subscribed before me oy, Core

is OCT O1 1996. ‘CARLTON COOK
NOTARY
PATRICIA a RIVER
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a28095 NOTARY PUBLIC. WAYNE COUNTY, wy
2235 MY COMMISSION Exp ve/15/20¢¢ EXMiBIT B- 3
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Case 4:96-cv-01210-ODS Document 132 Filed 04/15/98 Page 34 of 39
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Orher Descrimtinn:

CREDIT ACCEPTANCE CORPORATION, the Siver Triangle Building
75508 West Twelve Mile load, Suite 3000, Soutttield, Michigan 4g034.0339, Toll Free (B00) 634-1506

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MISSOURI CIRCUIT COURT
TWENTY-SECOND JUDICIAL CIRCUIT

(St. Louis City)
Crclhr Acesp ance Onpuits
VS.
Merion Gaukm a2 wow G ane
no. 760-/6008 Room L/2/__.19 98

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Corner en & Ln :
JUDGMENT ERE Gordon Cons

Comes now the Plaintiff(s) In Person and/or by his Attorney or Agent and the Detendant(s):;74.+~ G o>

cot Vird Gana

Ht. This cause being now submitted to
the Judge upon the proofs, evidence and pleadings adduced and the Judge being fully

advised In the premises finds that the Plaintiff(s) Is/are justly entitled to recover of the
Defendant(s).

WHEREFORE IT IS ORDERED, ADJUDGED AND DECREED that the Plaintiff(s) recover of
the Defendant(s) as follows:

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vd throvgh counsel KEVIN KELLY:

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Konic asle Deurk as follows:

1. Thet the Plaintiff is e Michigan Corporation
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rluzt interzst From OF/12/96.
© Plasntiff has demanded payment from Defendant(s)
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WHEREFORE, your Plaintiff demands Judgment against EXHIBIT C

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a chattel har been repossessed peaceably or by legal process.

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gent saarch. I know that no defendant named herein is
ry sarvica af the United States.

SBiThat L- have read the petition filed with the court in this action and
it is true and correct ta the best y knowledge and belief.

Syorn and avisertbed before me : p
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MOTARY

___ PATRICIA A. RIVERS EXHIBIT 0-2
“TARY PUBLIC - WAYNE COUNTY, I"

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oo Case-4:96-cv-01210:ODS . ‘Document 132 : Filed 04/15/98, Page.38 of 39. .

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Crna Descnption:
CREDIT ACCEPTANCE CORPORATION tne Sitver Tangle Building
25595 West Twelve Atle Road, Suita 3029, Southlielo, Metis v1 48034-8939. Toll Free (800) 634-1506

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